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                     LIABILITY COMPANY

                                        UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                     CARMAX AUTO SUPERSTORES                  Case No. 2:14-cv-08743-MMM (JEMx)
                     CALIFORNIA, LLC A VIRGINIA
                     LIMITED LIABILITY COMPANY,               PETITIONER CARMAX'S
                                                              OPPOSITION TO RESPONDENT'S
                               Petitioner,                    MOTION TO DISMISS PETITION
                                                              TO COMPEL ARBITRATION
                          v.
                                                              Hearin :
                     ROSELLA MICHELLE                         Date:      March 16, 2015
                     HERNANDEZ,                               Time:      10:00 a.m.
                                                              Courtroom: 780
                                                                         255 East Temle St.
                               Respondent.                               Los Angeles, CA 90012
                                                              Complaint Filed: September 25, 2014
                                                              Trial Date:       None Set
                                                              District Judge:   Hon. Margaret M.
                                                                                Morrow
                                                              Magistrate Judge: John E. McDermott




                                                                           Case No. 2:14-ev-08743-MMM (JEMx)
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                                         PETITIONER'S OPPOSITION TO RESPONDENT'S
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                    1   I.     INTRODUCTION
                    2          This Court possesses diversity jurisdiction over this action.
                    3          There are two prongs to establishing diversity jurisdiction: diversity of
                    4   citizenship and an amount in controversy of at least $75,000. See 28 U.S.C.
                    5   § 1322(a)(1). Both prongs exist in the instant action.
                    6         First, the instant action, a petition to compel arbitration pursuant to the Federal
                    7   Arbitration Act [9 U.S.C. §§ 1 et seq.], involves parties with complete diversity.
                    8   There are only two parties before this Court: Respondent Rosella Michelle
                    9   Hernandez ("Respondent") and Petitioner CarMax Auto Superstores California, LLC
                   10   ("CarMax"). See Petition to Compel Arbitration, [Docket No. 1], TT 1-2. CarMax is
                   11   a citizen of Virginia. Respondent is a citizen of California. Id. Thus, the action
                   12   involves parties of separate states. See 28 U.S.C. § 1322(a)(1); Caterpillar, Inc, v.
                   13   Lewis, 519 U.S. 61, 68, n.3 (1996) (stating that complete diversity among the parties
                   14   is required for diversity jurisdiction).
                   15         In determining whether there is complete diversity, CarMax and Respondent
                   16   are the only relevant parties. "The citizenship of someone not before the court is
                   17   irrelevant to the jurisdictional inquiry." Circuit City v. Najd, 294 F.3d 1104, 1106
                   18   (9th Cir. 2002) (in petition to compel arbitration, federal court ignores the citizenship
                   19   of individual defendant named in underlying state court action). Thus, this Court
                   20   cannot, as Respondent urges, consider the California citizenship of a party that
                   21   Respondent named in her pending state court action against CarMax.1
                   22         Second, Respondent does not challenge CarMax's amount in controversy
                   23   allegations. She does not allege that there is less than $75,000 in controversy.
                   24         With complete diversity among the parties to this action, and with more than
                   25   $75,000 in controversy, this Court possesses diversity jurisdiction to hear CarMax's
                   26   Petition to Compel Arbitration pursuant to 28 U.S.C. §§ 1322(a)(1). Respondent's
                   27
                         Hernandez v. CarMax Auto Superstores California, LLC, civil action no. 20-2014-
                   28   00474499-CU-WT-CJC
                                                                    1             Case No. 2:14-cv-08743-MMM (JEMx)
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                                                PETITIONER'S OPPOSITION TO RESPONDENT'S
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                   1   Motion to Dismiss should be denied.2
                   2   II. FACTUAL BACKGROUND
                   3         A. CarMax Seeks To Compel Respondent To Arbitrate Her Dispute
                                  With CarMax.
                   4

                   5          1.    On or around August 2, 2014, Respondent sent CarMax a Right-to-Sue
                   6   letter from the California Department of Fair Employment and Housing ("DFEH").
                   7   (Declaration of Amy Vaughan ("Vaughan Decl."), ¶ 2.) Thereafter, between August
                   8   8, 2014 and October 28, 2014, CarMax and Respondent, by and through their
                   9   counsel, met and conferred regarding the parties' signed Dispute Resolution
                  10   Agreement ("DRA") and applicable Dispute Resolution Rules and Procedures
                  11   ("DRRP"). CarMax pointed out that Respondent and CarMax had signed the DRA
                  12   which required Respondent and CarMax to submit claims arising out of
                  13   Respondent's employment with CarMax to binding arbitration. (Declaration of
                  14   Christopher Decker ("Decker Decl."), ITT 2-3; Vaughan Decl., ¶ 3, Ex. B.) CarMax
                  15   also indicated that a variety of state and federal courts in California had already
                  16   found the DRA and associated DRRPs enforceable (Decker Decl., ¶¶ 2-3.)
                  17         2.     On or about September 25, 2014, Respondent, ignoring the prior
                  18   authorities, filed a complaint, entitled Rosella Michelle Hernandez v. CarMax Auto
                  19   Superstores, LLC, et al., Case No. 20-2014-00747499-CU-WT-CJC in the Superior
                  20   Court of the State of California, County of Orange ("State Court Action"). (Id., ¶ 3;
                  21   see also Docket No. 1, Ex. D.). On October 28, 2014, Respondent again refused to
                  22   agree to arbitration. (Decker Decl, ¶ 3).
                  23         3.     On November 12, 2014, CarMax, pursuant to section 4 of the FAA,
                  24   which provides that parties who are aggrieved by a failure, neglect or refusal to
                  25   arbitrate by another party may petition any district court for an order compelling
                  26

                  27
                       2 Respondent's Motion fails comply with Local Rule 7-3. The Court may dismiss
                  28   Respondent's motion on this basis alone.
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                   1 arbitration, filed the instant Petition to Compel Arbitration. (See Docket No. 1).2
                   2         B.     Respondent Files Her Motion To Dismiss Without Meeting and
                                    Conferring as Required by Local Rule 7-3.
                   3

                   4         4.     On December 3, 2014, without having ever met and conferred with
                   5   CarMax's counsel, Respondent filed the instant Notice of Motion and Motion to
                  6    Dismiss. (Declaration of Jack S. Sholkoff ("Sholkoff Decl."), 114; see also Docket
                   7   No. 8.) It was CarMax's counsel, after receiving notice of the Motion to Dismiss,
                   8   who attempted to meet and confer with Respondent's counsel "in an effort to avoid
                   9   unnecessary motion practice." (Sholkoff Decl., ¶ 5, Ex. A.) That same day,
                  10   CarMax's counsel wrote to Respondent's counsel, requesting that Respondent
                  11   withdraw her motion, and, stating that, at a minimum, Local Rule 7-3 requires the
                  12   parties to meet and confer about motions before they are filed. (Id., Ex. A)
                  13         5.     On December 4, 2014, CarMax's counsel met and conferred with
                  14   Respondent's counsel regarding CarMax's pending Motion to Compel Arbitration,
                  15   (Id.) During that conversation, CarMax's counsel raised the issue of Respondent's
                  16   Motion to Dismiss and the problems with it. (Id.) Respondent refused to withdraw
                  17   this motion. (Id.)
                  18   III. THE COURT SHOULD DENY RESPONDENT'S MOTION TO
                  19         DISMISS BECAUSE THIS COURT HAS DIVERSITY JURISDICTION
                  20         OVER THE INSTANT ACTION.
                  21         A.     CarMax's Petition Presents A Controversy Between Citizens Of
                                    Different States.
                  22

                  23         In Circuit City Stores, Inc. v. Najd, 294 F. 3d 1104, 1105 (9th Cir. 2002), the
                  24   Court squarely held that the only parties relevant for determining diversity
                  25   jurisdiction are the actual parties in the action before the Court. The Court
                  26   specifically rejected the position posited in the case at bar by Respondent, namely
                  27
                        The State Court Action remains stayed pending the results of this Court's ruling on
                  28   CarMax's Motion to Compel Arbitration. See Request for Judicial Notice, Exhibit E.
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                    1 that the Court should consider the citizenship of the parties in an underlying state
                    2   court action when deter limning whether diversity jurisdiction exists in an action
                    3   brought pursuant to section 4 of the FAA. Simply put, if the parties before the Court
                    4   in this action are citizens of different states, then the parties are diverse for purposes
                    5   of diversity jurisdiction. See 28 U.S.C. § 1322(a)(1); Najd, supra, at 1106.
                    6         There is no dispute that CarMax, a citizen of Virginia, and Respondent, a
                    7   citizen of California, are diverse parties. Nonetheless, ignoring the Ninth Circuit's
                    8   ruling in Najd, Respondent urges the Court to consider the citizenship of Alan
                    9   Hannah, an individual defendant in the State Court Action who is not a party to the
                   10   instant action (Motion, page 2, lines 20-22). In Najd, the respondent employee, like
                   11   Respondent herein, sued his employer and his supervisor in state court, alleging, as
                   12   Respondent did in the State Court Action here, various tort and Fair Employment
                   13   and Housing ("FEHA") claims. The employer in Najd filed, as CarMax has here, a
                   14   petition in federal district court under the FAA seeking to compel arbitration and stay
                   15   the state court action. Id. Like Respondent, the employee in Najd contended, inter
                   16   alia, that the federal court lacked diversity jurisdiction because the underlying state
                   17   court action also named a California resident. The district court disagreed and
                   18   granted the petition. Id. In affirming, the Ninth Circuit stated:
                   19                Circuit City and Najd, the only parties in this action, are
                                     diverse. However, Najd argues that we must consider the
                   20                citizenship of Khorsand, who is a defendant in the state
                                     court action. If Khorsand's citizenship is considered,
                   21                complete diversity is lacking because Najd and Khorsand
                                     are both California residents. (citations ommitted)
                   22                However, the citizenship of someone not before the court
                                     is irrelevant to the jurisdictional inquiry. (citations
                   23                committed) The district court properly exercised diversity
                                     jurisdiction over Circuit City's petition."
                   24

                   25   Id. (emphasis added); see also Doctor's Assoc., Inc. v. Distajo, 66 F.3d 438, 444-46
                   26   (2d Cir. 1995), cert. denied, 517 U.S. 1120 (1996) (district court was correct to
                   27   consider only the citizenship of the parties to the petition to compel arbitration to
                   28   determine whether there was complete diversity); Prudential-Bache Secs., Inc. v,
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                  Fitch, 966 F.2d 981, 988 (5th Cir. 1992) ("[J]urisdiction for a petition to compel
                  arbitration [must] be determined from the face of the petition ...."); Snap-On Tools
                  Corp, v. Mason, 18 F.3d 1261, 1266-67 (5th Cir. 1994) (individual defendants in
                  state court action are not indispensable parties to a petition to compel arbitration).
                        These authorities demonstrate that because a Petition to Compel Arbitration
                  seeks to compel parties into arbitration, it is the parties who will be subject to the
                  Court's order compelling arbitration who are relevant parties for determining
                  whether diversity jurisdiction exists. In this action, CarMax seeks to compel
                  Respondent—and Respondent alone—into arbitration. There are no other parties to
                  the action. Respondent is a citizen of California. CarMax is a citizen of Virginia.
                  Accordingly, there is complete diversity between the parties for purposes of
                  determining federal court jurisdiction.
                        Despite the clarity of Najd, Respondent asserts that the Court must consider
                  the citizenship of Hannah merely because CarMax referred to Respondent's prayer
                  for damages — $5,000,000—in the State Court Action to support its good faith
                  allegation that the instant action involves an amount in controversy in excess of
                  $75,000 and Hannah is a party to the State Court Action. Respondent cites no
                  authority for this assertion. And she ignores Najd. In Najd, both the employer's
                  brief and the Ninth Circuit's decision reveal that the Najd Court was well aware of
                  the existence of an individual, non-diverse defendant in the underlying state court
                  action. See Circuit City Stores, Inc., a Virginia corporation, Respondent-Appellee, v.
                  Monir NAJD, Petitioner-Appellant, 2000 WL 34004801, *40 (9th Cir.); Circuit City
                  Stores, Inc. v. Najd, 294 F.3d 1104, 1106 (9th Cir. 2002). CarMax's mere reference
                  to the State Court Action and its prayer for damages against CarMax of $5,000,000
                  does not somehow convert Hannah into a party to the instant action.
                        In fact, CarMax had to, at a minimum, at least refer to the State Court Action
                  as part of its allegations contained in the instant Petition. To bring a petition to
                  compel arbitration pursuant to section 4 of the FAA, CarMax was required to allege
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                  that an arbitrable controversy exists between the parties.4 The only basis upon which
                  CarMax, like the employer in Najd, knew that an arbitrable controversy existed was
                  because Respondent had filed the State Court Action. Put another way, absent
                  Respondent's filing the State Court Action, CarMax would have had no reason to file
                  the instant Petition to Compel Arbitration, This is precisely why Najd and Distajo
                  found that merely referring to the State Court Action in moving papers does not as a
                  matter of law, make the underlying defendant in the State Court Action a party to the
                  federal action. Najd, 294 F. 3d at 1105. CarMax, after all, is not seeking to compel
                  Mr. Hannah into arbitration. Because the only parties in the instant action who will
                  be subject to an order compelling arbitration have diverse citizenship, CarMax has
                  unequivocally met the first requirement for demonstrating diversity jurisdiction.

                         IL     The Petition Alleges An Amount In Controversy In Excess Of
                                $75,000,.
                         The second prong of diversity jurisdiction requires the petitioner to allege, in
                  good faith, the existence of a controversy in excess of $75,000. The burden is not a
                  high one. Where, as here, the plaintiff — or the petitioner in a section 4 proceeding —
                  files in federal court, "the amount in controversy is determined from the face of the
                  pleadings" so long as the claim is made in good faith. Geographic Expeditions, Inc.
                  v. Estate of Lhotka, 599 F.3d 1102, 1106 (9th Cir. 2010). To defeat jurisdiction, the
                  party seeking to dismiss the action, must prove to a legal certainty that the amount in
                  controversy does not exist. Id See also Crum v. Circus Circus Enterprises, 231
                  F.3d 1129, 1129 (9th Cir. 2000) (reversing district court's dismissal of action
                  because amount claimed in the plaintiffs complaint controls so long as claim is
                  made in good faith, and claim did not appear to be less than the jurisdictional amount


                    Section 4 of the FAA provides, in relevant part that "A party aggrieved by the
                  alleged ... refusal of another to arbitrate under a written agreement for arbitration
                  may petition any United States district court which, save for such agreement, would
                  have jurisdiction under Title 28, in a civil action ... of the subject matter of a suit
                  arising out of the controversy between the -parties, for an order directing that such
                  arbitration proceed in the manner provided- for in such agreement."
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                   1   to a legal certainty).
                  2           In alleging $75,000 in controversy, CarMax referenced that Respondent
                   3   alleged, in the State Court Action, damages of $5,000,000 as against CarMax, as one
                   4   reason for its good faith belief that the amount in controversy was over $75,000.
                   5   (See Docket No. 1.) CarMax need not rely on the State Court Action, however,
                   6   because with CarMax having alleged more than $75,000 in controversy, the burden
                   7   switches and falls squarely upon Respondent to show with legal certainty that the
                   8   amount in controversy is less than $75,000 based upon the face of the Petition.
                   9   Plaintiff, of course, does not dispute that there is more than $75,000 in controversy.
                  10          In sum, this Court possesses diversity jurisdiction over CarMax's petition to
                  11   compel arbitration.
                  12   IV. RESPONDENT'S NON-COMPLIANCE WITH LOCAL RULE 7-3 IS
                  13          GROUNDS ALONE FOR DENIAL OF MOTION
                  14          The Central District Local Rule 7-3 mandates that, with respect to filing a
                  15   motions such as this instant one, "counsel contemplating the filing of any motion
                  16   shall first contact opposing counsel it discuss thoroughly, preferably in person, the
                  17   substance of the contemplated motion and any potential resolution. The conference
                  18   shall take place at least seven (7) days prior to the filing of the motion." Then, "[i]f
                  19   the parties are unable to reach a resolution which eliminates the necessity for a
                  20   hearing, counsel for the moving party shall include in the notice of motion a
              21       statement to the following effect: 'This motion is made following the conference of
                  22   counsel pursuant to L.R. 7-3 which took place on (date)." Local Rule 7-3.
                  23          Such a statement is not contained in Respondent's Notice of Motion, as
                  24   required, nor anywhere else in Respondent's moving papers. (Docket No. 8.)
                  25   Respondent did not, and could not, attest to her compliance with Local Rule 7-3
                  26   because she did not, at any point prior to filing her motion — let alone seven (7) days
                  27   before — attempt to meet and confer with CarMax regarding the Motion to Dismiss.
                  28   (Sholkoff Decl., 114.) Had Respondent done so, CarMax could, and would, have
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                 informed Respondent prior to filing her motion that the Ninth Circuit has already
                 squarely rejected the argument upon which her motion is based. Her non-
                 compliance is grounds alone for denial of her motion. Singer v. Live Nation
                 Worldwide, Inc., 2012 WL 123146, at *2 (CD. Cal. Jan. 13, 2012) (denying motion
                 for failing to comply with Local Rule 7-3, where defendant emailed and faxed letter
                 a "mere three days" before the motion was filed and prior "'conversations about the
                 merits of Plaintiff's claims' do not equate with discussions regarding a contemplated
                 motion").
                 V. CONCLUSION
                       This Court possesses diversity jurisdiction over CarMax's Petition to Compel
                 Arbitration. Based on the foregoing reasons, this Court should deny Respondent's
                 Motion to Dismiss.
                 DATED: February 23, 2015               OGLETREE, DEAKINS, NASH, SMOAK &
                                                        STEWART, P.C.


                                                        By: /s/ Jack S. Sholkoff
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                                                        CALIFORNIA, LLC A VIRGINIA LIMITED
                                                        LIABILITY COMPANY




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